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    IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND


Maryland Election Integrity LLC *
116 Defense Highway, *
Annapolis, MD 21401 *
                                                            *

                       Plaintiff                        *
                                                            *

United Sovereign Americans, Inc. *
167 Lamp and Lantern Village Suite 194 *
Chesterfield, MO 63017 *
                                                            *

                       Plaintiff                        *
                                                            * Case No.:
V.                                         *
                                                            *

Maryland State Board of Elections *
151 West Street #200 *
Annapolis, MD 21401 *
                                                            *

       SERVE ON: Michael G. Summers,
       In his representative capacity as the Chainnan
       of the Maryland State Board of Elections
       151 West Street #200
       Annapolis, MD 21401

                       Defendant



            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

       Maryland Election Integrity LLC, a Maryland limited liability company, and United

Sovereign Americans, Inc., a Missouri nonprofit corporation, Plaintiffs, by Hartman, Attorneys at


Law, and C. Edward Hartman, III, hereby bring this Complaint for Declaratory and Injunctive

Relief, and plead as follows:

                                          PARTIES

    1. Maryland Election Integrity LLC is a Maryland limited liability company. Its principal

       office is located in Maryland.
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2. United Sovereign Americans, Inc. is a nonprofit corporation incorporated in the state of


    Missouri.


3. Maryland State Board of Elections (hereinafter referred to as "MDSBE") is a government

    agency that administers elections in Maryland.

                                 JURISDICTION AND VENUE

4. This action seeks declaratory and injunctive relief from deficient voter registration rolls

    leading to violations of Federal and state laws, the certification of results from a provably

    flawed, inaccurate, and obscure process outside the view of impartial witnesses or the


   public, including the use of voting systems in Maryland that are believed to have void EAC

   certifications in violation of federal law, and the refusal of the Maryland State Board of

   Elections to comply with Public Information Act (PIA) requests and Federally required

   transparency. This Court has subject matter jurisdiction over this complaint because the

   case presents substantial questions of federal law, and the state claims are so related to the


   federal claims that they form part of the same case or controversy. 28 U.S.C. §§ 1331 and

    1367.


5. This court has authority to issue a declaratory judgment and to order injunctive and other

   relief that is necessary and proper pursuant to 28 U.S.C. §§2201 and 2202 as there exists a

   case of actual controversy.


6. This court has personal jurisdiction as the Defendant is a Maryland Agency.

7. Venue is proper in this district under 28 U.S.C. § 1391(e)(l).

                                           STANDING

8. Maryland Election Integrity LLC is an organization comprised of members who are

   registered voters in the state of Maryland.
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9. The members have been and are currently harmed by the MDSBE and the ES&S voting

    systems currently and formerly in use in Maryland elections. The violations of Maryland

   election laws, the US Constitution, and Federal civil rights laws pertaining to voter

   registration rolls, transparency, compliance, and certification of the voting systems, and the


   serious issues hereinafter discussed with the overall voting systems exemplify their injury.

   The lack of transparency by MDSBE with respect to the voting systems and the reports

   generated by them has resulted in Plaintiffs being denied lawful Public Information Act

   (PIA) requests and the Federally mandated preservation ofauditable items.

10. If the Court grants Plaintiffs' requested relief, the injury to the Plaintiffs' members would

   cease to exist.


11. The Supreme Court has indicated that if one party to a lawsuit has standing, other entities

   can join as parties without having to satisfy independently the demands of Article III,

   provided those parties do not seek a distinct form of relief from the party with standing.


   E.g., Home v. Flores, 557 U.S. 433, 446 (2009).

12. United Sovereign Americans is not seeking a distinct form of relief and, therefore, has

   standing.


                                         BACKGROUND

13. Article 1 Section 2 of the US Constitution grants the right to choose representatives to the


   people of the several states, according to the voting eligibility requirements of the state.

14. The Fourteenth Amendment Section 1 defines a citizen as all people born or naturalized in

   the United States, and subject to the jurisdiction thereof.

15. The Fourteenth Amendment Section 2 protects the eligible citizen voters of a state against


   both denial, or abridgment in any way, of their vote.
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16. The National Voter Registration Act (NVRA) was passed for the purpose of ensuring

    accurate, current voter registration rolls. Congress' power to pass NVRA comes from


    Article 1, Section 8, Clause 18 of the US Constitution, the Necessaiy and Proper Clause,

    making accurate voter rolls a requirement to uphold the right of the people to choose their

    representatives.


17. Of the three components of an election, voters, votes, and counts, in that order, each relies


    on the accuracy of the preceding component(s) in order to be trustworthy. Without all being

    intact, the system will not meet the requirements for certifying the vote, plainly needing

    the ability to prove both accuracy and compliance.

18. It is a settled legal principle that dilution of a qualified voter's vote is a form of

    disenfranchisement. Ex parte Siebold, 100 U. S. 371 (1879), United States v. Saylor, 322

   U. S. 385 (1944), Reynolds v. Sims, 377 U.S. 533 (1964).

19. The Help America Vote Act requires that voter roll databases contain only the registrations

   of qualified citizen voters residing in that state. 52 USC § 21083(a). Each qualified voter


   is granted a unique statewide identifier in the database, averting the risk of double-voting,

   or extra ballots being cast in the name of a particular voter. Further, the constitutional

   mandate is that the election system must only count eligible voters. Maryland cannot

   demonstrate that there is effective control of eligibility in Federal or State dimensions of

   those requirements and has implemented a system that does not guarantee accuracy or


   compliance with only allowing eligible voters to register and vote.

20. The Help America Vote Act requires that federal elections adhere to an accuracy standard,

   "...set at a sufficiently stringent level such that the likelihood of voting system errors

   affecting the outcome of an election is exceptionally remote even in the closest of
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    elections." United States. (2002) U.S. Federal Election Commission FEC. United States.

    [Web Archive] Retrieved from the Election Assistance Commission,


   https://www.eac.gov/sites/default/files/eac_assets/l/28A^oting_System_Standards_Volu

   me I.pdf.


21. For a voting system, accuracy is defined as the ability of the system to capture the intent

   of the voters without error. United States. (2002) U.S. Federal Election Commission FEC.

   United States. [Web Archive] Retrieved from the Election Assistance Commission,


   https://www.eac.gov/sites/default/files/eac_assets/l/28A^oting_System_Standards_Volu

   me_I.pdf.


                                              FACTS

   Voter Rolls

22. The National Voter Registration Act of 1993 (NVRA) states that "[t]he purposes of this act

   are to ensure that accurate and current voter registration rolls are maintained." 52 USC §


   20501(b)(4).

23. Meticulous analysis of the official Maryland State Voter Registration Database reveals a

   minimum of 79,392 current apparent registration violations (Voter Registration Database

   snapshots were purchased 8/2021, 12/2021, 7/2022, 8/2022, 12/2022, 1/2023, 2/2023,

   3/2023, 4/2023, 5/2023, 6/2023, and 7/2023).

24. The analysis revealed 1,699 instances of duplicate registrations, 25,084 instances of

   registrants with questionable inactive status, 3,366 instances of active registrations without

   a certified US Post Office mailing address, 5,680 instances of active registrants who moved

   at least 4 years ago, 605 instances of registrations with no residential address, 296 instances

   of active registrants with a nonstandard address, 1,218 instances of active registrants who
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    are deceased, 883 instances of age discrepant registration (younger than 18 or older than

    115), and 40,518 instances of questionable registration date. A spreadsheet with the

    apparent registration violations is attached as Exhibit A.

25. Exhibit A shows the registration type, the number of apparent violations, and the Maryland

    election law/rule in violation.


26. The apparent violations are pursuant to Md. Election Law Code Ann. §§ 3-101, 102, 502,

    503 & 504.

27. These numbers clearly show the voter rolls in Maryland are not accurate and current as


   required by the NVRA: 52 USC § 20501(b)(4) and violate specific Maryland laws

   pertaining to voter registration, i.e. §§ 3-101,102,502, 503 & 504.

28. Inaccurate voter rolls have significant downstream consequences in elections.


29. The purpose of a voting system is to accurately record, store, consolidate and report the


   specific selections, and absence of selections, made by the voter as well as to accurately


   measure the intent of the total body of eligible voters that voted.

30. The definition of a voting system is found in HAVA Section 301. 52 USC § 21081.

31. Under HAVA, a voting system is defined as "the total combination of mechanical,

   electromechanical, or electronic equipment (including software, firmware, and


   documentation required to program, control, and support the equipment) that is used to

   define ballots; to cast and count votes; to report or display election results; and to maintain

   and produce any audit trail information." 52 USC § 21081(b)(l)(A)-(D).

32. The ability to "cast and count votes" begins with establishing eligibility, including

   citizenship, and registering only qualified citizens into voter registration databases, thus
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    assuring that all ballots granted, and thereby all votes cast and counted, are lawfully cast

    and counted according to the US Constitution.

33. Voter registrations are used to create pollbooks, which can either be networked or non-


   networked. "Networked pollbooks are electronic pollbooks with a connection to an

   external database, and may include a direct connection to the voter registration database or


   a separate server." Cybersecurity and Infrastructure Security Agency, Critical


   Infrastructure Security and Resilience Note, Jul. 28, 2020, at 2-3,


   https://www.cisa.gov/sites/default/files/publications/cisa-election-infrastructure-cyber-


   risk-assessment_508.pdf.


34. Maryland is a state in which all local jurisdictions use E-Poll books, meaning the pollbooks

   have a direct connection to the voter registration database.


35. Following pollbook preparation is ballot preparation. Ballot preparation "generates the data

   necessary for tabulating votes within a voting machine, and aggregating tabulated votes

   within a jurisdiction or state." Cybersecurity and Infrastructure Security Agency, Critical

   Infrastructure Security and Resilience Note, Jul. 28, 2020, at 3,

   https://www.cisa.gov/sites/default/files/publications/cisa-election-infrastructire-cyber-

   risk-assessment_508.pdf.


36. Voting machines are used following ballot preparation. "Voting machines encompass both

   technology and processes used by election officials to prepare voting machines for ballot

   tabulation, and in some cases presentation. Specifically, this includes loading the ballot

   files created during ballot preparation onto voting machines." Cybersecurity and

   Infrastructure Security Agency, Critical Infrastructure Security and Resilience Note, Jul.
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    28, 2020, at 3, https://www.cisa.gov/sites/default/files/publications/cisa-election-

    infrasti-ucture-cyber-risk-assessment_508.pdf.


37. The U.S. election process seen above shows the link between voter registration and the


   ballot files being loaded onto voting machines.

38. It also shows voter registration is encompassed in the definition of a voting system as

   defined in 52 USC § 21081 (b) because a voting system consists of documentation required

   to program the voting machines.


39. As voter registration is part of the voting system, it is subject to the allowable error rates

   of voting systems as set forth in 52 USC § 21081 (a)(5).

   Error Rates


40. Section 301 of HA VA regarding "Voting System Standards," states that the "error rate of


   [a] voting system in counting ballots... shall comply with the error rate standards

   established under section 3.2.1 of the voting systems standards issued by the Federal

   Election Commission[.]" 52 USC § 21081 (a)(5)

41. The accuracy requirements set under the Federal Election Commission (FEC) voting

   systems standards section 3.2.1 establish that "the system shall achieve a target error rate

   of no more than one in 10,000,000 ballot positions, with a maximum acceptable error rate

   in the test process of one in 500,000 ballot positions." United States. (2002) U.S. Federal

   Election Commission FEC. United States. [Web Archive] Retrieved from the Election

   Assistance Commission,


   https://www.eac.gov/sites/default/files/eac_assets/l/28/Voting_System_Standards_Volu

   me_I.pdf.
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42. The Voluntary Voting System Guidelines, Version 1.1, Section 4.1.1 - Accuracy

   Requirements states in part, "[a]ll systems shall achieve a report total error rate of no more

   than one in 125,000." United States. (2015) U.S. Election Assistance Commission. United

   States. [Web Archive] Retrieved from the Election Assistance Commission,

   https://www.eac.gov/sites/default/files/eac_assets/l/28A^VSG. 1.1 .VOL. 1 .FINAL1 .pdf.

43. The Voluntary Voting System Guidelines, Version 1.1, Section 4.1.1 - Accuracy

   Requirements then states, "[t]he benchmark of one in 125,000 is derived from the

   "maximum acceptable error rate" used as the lower test benchmark in the 2005 Voluntary


   Voting System Guidelines Version 1.0. That benchmark was defined as a ballot position

   error rate of one in 500,000. The benchmark of one in 125,000 is expressed in terms of

   votes, however, it is consistent with the previous benchmark that the estimated ratio of

   votes to ballot positions is 14" United States. (2015) U.S. Election Assistance Commission.

   United States. [Web Archive] Retrieved from the Election Assistance Commission,


   https://www.eac.gov/sites/default/files/eac_assets/l/28A^VSG. 1.1 .VOL. 1 .FWALl .pdf.

44. Maryland voting systems are subject to the error rates defined in the FEC Voting System

   Standards 3.2.1 and explained in the Voluntary Voting System Guidelines (WSG).

45. The number of apparent voting system errors in counting votes in the 2020 General

   Election, according to MDSBE raw data, was 62,075. A spreadsheet is attached showing

   the apparent voting violations in the 2020 and 2022 General Election as Exhibit B.

46. The number of apparent voting system errors in counting votes in the 2022 General

   Election, according to MDSBE raw data, was 27,623. This can also be seen in Exhibit B.
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47. The allowable number of voting system errors in counting votes to comply with HAVA is

   calculated by dividing the total number of Maryland voters who voted in a given election

   by 125,000.

48. For the 2020 General Election this is -3,000,000 votes/125,000 = 24. For the 2022 General

   election this is -2,000,000 votes/125,000 = 16.

49. The number of voting system errors in counting votes for the 2020 General election

   (62,075) greatly exceeded the maximum allowable error rate (24).

50. The number of voting system errors in counting votes for the 2022 General election

   (27,623) greatly exceeded the maximum allowable error rate (16).

51. In sum, the voting system error rates are exponentially above the maximum allowable error


   rates. Inaccuracy and the specter of fraud have irretrievably damaged the reliability and

   credibility of results.

52. The Members of Plaintiff exhausted every administrative remedy known to them in

   advance of the 2022 general election, to have these issues repaired. Plaintiffs continued in

   2023 to seek redress and repair for these egregious violations through democratic means.

53. The Maryland State Board of Elections dismissed these concerns without any meaningful

   review or response and intends to administer and certify Maryland's 2024 general election

   under the same inaccurate conditions.


   Requirements for Certifying Voting Systems

54. The requirement for certifying voting systems is set forth in Section 231 of the Help

   America Vote Act ("HAVA"). 52 USC § 20971.




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55. Under HAVA there is a requirement for providing "for the testing, certification,

    decertification, and recertification of voting systems hardware and software by accredited

    laboratories." 52 USC § 20971 (a)(l)

56. While HAVA does allow for the "optional use by states," Maryland has adopted the


    certification requirements: "The State Board may not certify a voting system unless the

    State Board determines that.. .the voting system is (i) examined by an independent testing

    laboratory that is approved by the U.S. Election Assistance Commission; and (ii) shown

   by the testing laboratory to meet the performance and test standards for electronic voting

    systems established by the Federal Election Commission or the U.S. Election Assistance

    Commission^]" Md. Code Ann., Elec. Law §9-102

57. Md. Code Ann., Elec. Law § 9-102 requires voting systems to conform with standards set


   by the Federal Election Commission and the U.S. Election Assistance Commission.

   Maryland also has received HAVA grants; therefore, the State is subject to the


   requirements set forth by HAVA.

58. Under HAVA, states that receive payments for improving the administration of elections

   must use the funds "in a manner consistent with each of the laws described in section

   21145...and the proposed uses are not inconsistent with the requirements of title III." 52


   USC § 20901 (c).

59. HAVA also sets forth the requirements for accrediting testing labs that perform

   certification tests on voting systems.


60. HAVA states that the requirements to be met by testing labs to become accredited are found

   in the Voluntary Voting Systems Guidelines ("VVSG").




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61. Maryland has also adopted guidelines for certification, which are governed by the Code of

   Maryland Regulations (COMAR), Title 33, and the Election Law of the Annotated Code

    of Maryland.

62. COMAR 33.09.03.04 requires that applicants submit a Technical Data Package, a Business

   Information Package, anti-bribery and anti-debarment affidavits, as well as voting


   equipment.


63. COMAR 33.09.03.05 details the requirements for the Technical Data Package.

64. Under COMAR 33.09.03.05(A) Required Information "[t]he technical data package shall

   contain all documentation previously submitted for the qualification testing of the system,

   including each of the following... (5) Software Source Code (both in the form of a listing

   and in a machine-readable form on media acceptable to the evaluation agent)[.]"

65. Election Systems & Software (ES&S) is the manufacturer of the voting systems currently

   in use in Maryland.


66. Page 4 of the ES&S EVS 5.2.0.0 Maryland State Board of Elections (MDSBE) certification

   report (the "Report"), dated December 4, 2014, states that the Technical Data Package was

   submitted.

67. Page 20 of the Report says that all listed requirements were provided except the Software

   Source Code. An excerpt of this report is attached as Exhibit C.

68. Under COMAR 33.09.03.05 requirements, Maryland was required to review the source

   code of the voting systems.


69. Maryland did not review the source code for ES&S EVS 5.2,0.0 as they were required to

   under Maryland Law and evidenced by the Report.

   Modem Use




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70. In January 2020, the EAC received complaints about ES&S marketing to their customers

    that the use of a modem on the voting system is optional. The correspondence between the

    EAC and ES&S is attached as Exhibit D.

71. The EAC determined that ES&S violated Sections 5.14 and 5.15.1 of the EAC Testing and

    Certification Program Manual Version 2.0 by representing or implying that the DS200 with

    modem configuration is EAC certified when in fact attachment of a modem is

    disqualifying.

72. The EAC also determined that ES&S violated Section 5.16 by failing to warn purchasers

    that adding a modem to the DS200 would void the EAC certification of the voting system

    in its entirety.


73. This violation led to a number of states using modems on the ES&S voting systems.

74. Eleven of these states acknowledged using ES&S voting systems with attached modems

    while others have not admitted to using modems.

75. The voting systems with modems attached were likely used for years with void EAC

    certification.

76. ES&S created a proposal that was used for the purpose of persuading Colorado to use its

   voting system on December 4, 2013 (the "Colorado Proposal") the relevant portions of

   which are attached as Exhibit E.

77. In the Colorado Proposal, ES&S sets forth questions and answers.

78. One such question, on page 13 of Section 9.0 - General Questions, asks "[i]s there any

   remote communication technology associated with your proposed solution?"

79. In response to the question, they state in part "[t]he DS200 Tabulators use wireless modems

   to connect to the SFTP Server via the Internet."




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80. ES&S unequivocally admits that the voting systems use modems.

81. Contained in the ES&S EVS 5.2.0.0 certification report issued by the EAC, dated July 2,

   2014, is a table titled "2005 VVSG Supported Functionality Declaration." The table states

   that modems are not a supported functionality of the voting machine. The relevant table

   from the certification report is attached as Exhibit F.

82. Page 10 of the Report for Maryland certification (December 2014) states that "[rjesults can

   be transferred by modem to the EMS server." The relevant portions of which are attached

   as Exhibit G.

83. Results in fact are not permitted to be transferred by modem as the EAC has never certified

   a voting system with a modem; further, simply attaching a modem will void the EAC

   certification.


84. Any voting system with an attached modem has a void EAC certification and is not allowed

   to be used according to the EAC.

85. The meeting minutes of the MDSBE meeting on July 16, 2015 show that in prior elections,

   three local boards - Baltimore, Mmtgomery, and Prince George's Counties - transmitted


   unofficial election results from either a polling place or a regional transmission center. The

   relevant portion of the meeting minutes is attached as Exhibit H.

86. Transmitting unofficial election results is typically accomplished by the use of a modem

   or email.


87. The only way to determine whether Maryland used modems to accomplish the transmission

   of the unofficial election results in this situation is to examine the various DS200 audit logs

   and configuration reports the machines generate. The logs and reports were requested from


   MDSBE and the Local Boards of Election, in at least 22 out of the 23 counties in Maryland,




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   through PIA requests but not produced. The PIA requests and/or responses are attached as

   Exhibit I.


88. Transmitting unofficial election results from a polling place leaves the system vulnerable

   to cyber-attacks.


89. In an MDSBE meeting dated July 27,2017, they stated "approximately 1,400 of the DS200

   scanners have non-functioning modems installed that have not been used since delivery.


   ES&S has started removing these modems, which they wish to put back into their own

   inventory. Once each modem is removed, acceptance testing will be performed on the unit


   under SBE and local board supervision prior to returning to service." The relevant portion

   of the meeting minutes is attached as Exhibit J.

90. A voting system with a modem installed on it has a void EAC certification.

91. Approximately 1,400 voting systems being used in Maryland prior to 2017 had void EAC

   certifications.


92. Maiyland. Code, Elec. Law § 9-103 states MDSBE ("(2) shall decertify a previously

   certified voting system if the voting system no longer meets one or more of the standards

   in § 9 102(d)(l)(i) through (iii) of this subtitle.") (emphasis added)

93. Md. Code, Elec. Law § 9-102 says ("(d) The State Board may not certify a voting system

   unless the State Board determines that: (1) the voting system will: (i) protect the secrecy

   of the ballot; (ii) protect the security of the voting process; (iii) count and record all votes

   accurately;")

94. The voting machines did not comply with Md. Code, Elec. Law § 9-102(d)(l)(i) and (ii)

   considering the transmission of the unofficial results is susceptible to cyber risks.




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95. In 2017 machines in Maryland had modems attached which were to be removed prior to

    "returning to service." This creates the presumption that the modems on the machines were


    in use, despite MDSBE claiming the modems were non-functioning and had not been used

    since delivery. This shows the machines were used in elections with attached modems.

   Whether the modems were functioning is irrelevant as attachment of a modem voids the

   EAC certification.

96. Once again, numerous PIA requests were made for the DS200 audit logs and configuration

   reports which would tend to show the modems were functioning or non-functioning, but


   not produced.


97. According to ES&S the configuration reports are automatically printed upon login to the

   machines; therefore, the PIA requests for these documents should have been fulfilled with


   responsive documents.


98. The systems were being used in elections with void EAC certifications.

   IVIaryland Public Information Act

99. Maryland's Public Information Act ("PIA") gives the public the right to access government

   records without unnecessary cost and delay.


100. GP § 4-103(a) provides that "[a]ll persons are entitled to have access to information

   about the affairs of government and the official acts of public officials and employees."

101. In response to numerous PIA requests in most Maryland counties, MDSBE and the

   local Boards of Elections stated that they do not have any responsive documents.

102. The information being requested, audit logs, system logs, error logs, configuration

   reports, etc. of voting systems, is information that should be available because of the audit

   requirements set under HAVA and COMAR.




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103. ES&S also represents that these reports and logs are either automatically generated

   by the machines or easily accessed in their Colorado Proposal.

104. In Section 1 2.0 - UVS System Requirement of The Colorado Proposal ES&S goes

   into great detail about the audit logs the machines generate. The relevant portions of the

   Proposal are attached as Exhibit K.

105. Req. ID H-l requires the systems to "Store sufficient data in an unalterable system

   audit log file to allow the auditing of all operations related to election setup, ballot creation,

   ballot tabulation, results consolidation and report generation."


106. ES&S's response states "[e]ach application has its own audit log to allow the

   auditing of all operations relating to the election setup, ballot creation, ballot tabulation,

   results consolidation and report generation. The ES&S proposed voting system audit log

   provides sufficient information to allow the auditing of all operations related to ballot

   tabulation, results consolidation, and report generation."


107. The rest of the response from ES&S goes through the system audit capabilities of

   all the components of the voting system.

108. ES&S responded to an inquiry for their audit trail techniques and reports in the

   Colorado Proposal. "Please explain what audit trail techniques and audit reports are

   incorporated in your proposed system."


109. For the DS200 Tabulator ES&S stated "[i] n addition to the audit log described

   previously that records all use operation and substantial application operations or errors,

   the DS200 has various configuration reports, ballot accounting reports, and results reports,

   all of which can be used forensically for auditing."




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110. These reports are created by the voting machines and were requested through PIA

   requests but not produced.


111. ES&S responded to an inquiry into their audit logs files, location, and access to

   them. "Please provide a list of all audit log files, the file location within the voting system,

   and the procedures to navigate to and retrieve them from the voting system."


112. For the DS200 Tabulator ES&S states "[t] he signed audit logs are written to the


   log directory on the removable media. The audit log events can be accessed on the DS200

   onscreen or through a printed report. Wlien the media is read back into the EM'S the audit

   logs are also retrievable from the EMS through a machine audit log report or exported in a

   comma separated format."


113. These audit logs are created and were requested through PIA requests but not

   produced.


114. Next, ES&S addresses Req. ID H-15 in the Colorado Proposal which requires the

   systems to "[c]reate audit records prior to the initiation of ballot counting to verify

   hardware and software status. These particular audit records shall include the identification

   of the software release, the identification of the election to be processed and the results of

   hardware and software diagnostic tests."


115. ES&S's response states in part "[o]n power up, a configuration report is

   automatically printed to create a hard copy record of the relevant configuration and settings

   of the particular DS200."

116. The fact that the configuration reports are automatically printed is confirmed by the

   Dorchester County Board of Elections Chief Judges' Manual. The relevant portion of the

   manual is attached as Exhibit L.




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117. The configuration reports are automatically printed and were requested through

   PIA requests but not produced. To state there are no responsive documents to this request


   is clearly false as the voting machines automatically print them.

118. The Election Law of the Annotated Code of Maryland § 9-102(d) says that the

   "State Board may not certify a voting system unless the State Board determines that: (1)

   the voting system will. .. (vi) be capable of creating a paper record of all votes cast in order

   that an audit trail is available in the event of a recount, including a manual recount[.]"

119. Pages 15 and 16 of the Report for Maiyland certification (December 2014) analyze

   the voting system with respect to COMAR 33.09.02.07.

120. COMAR 33.09.02.07 explains the audit trail requirement stating that: "[t]he voting

   system shall be capable of providing an audit trail of all ballots cast so that, in a recount,

   the election can be reconstructed, starting with the individual votes of all eligible voters."

121. The Board of Elections states in the Report that ES&S EVS 5.2.0.0 satisfied the

   audit requirements: "[a]ll tabulators and the EMS system maintain an audit log for each

   election."


122. The information Plaintiffs requested through the PIA requests is not new

   information that must be created. There are responsive documents to the requests, as


   opposed to Defendant's contentions.


123. The information is already available on the voting systems and ES&S details how

   to print the reports in Chapter 20 of their Electionware Volume V: Results User's Guide.

   The relevant portions of the guide are attached as Exhibit M.




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124. The information is stored in the course of an election on the voting systems and, if

   not, the systems do not conform to the representations made about their capabilities to

   create audit logs.


125. The PIA requests have been denied, notwithstanding the laws that were clearly

   drafted to allow for public review.

   Blank Ballots, Undervotes, and Overvotes

126. HAVA Section 301 requires voting systems to "provide the voter with the


   opportunity (in a private and independent manner) to change the ballot or correct any error

   before the ballot is cast and counted (including the opportunity to correct the error through

   the issuance of a replacement ballot if the voter was otherwise unable to change the ballot

   or correct any error.)" 52 USC §27057(a)(l)(A)(ii).

127. Maryland creates a Cast Vote Records report for each county in Maryland for each

   election, which contains the total number of registered voters, the total number of ballots

   cast, and the results in that county.


128. The Cast Vote Records EL45a report shows the total number of blank ballots cast

   in each county in the state of Maryland for each election.

129. Upon calculation, the total number of blank ballots cast in the 2022 General

   Election in Maryland was 82,356.

130. Some counties had much higher percentages of blank ballot than others. Possible

   reasons for this can be explained below.


131. It is believed that many people did not intend to cast blank ballots in the 2022

   General Election, and the settings of the machines were the reason for the ballots being

   cast blank.




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132. Upon further inquiry, it has been discovered that the ES&S DS200 tabulator can be

   configured to accept blank ballots, undervotes, and overvotes instead of rejecting them and

   notifying the voter to cure the mistake.

133. According to a DS200 Operators Guide dated July 18,2019, an admin can establish

   the ballot handling options. The relevant portions of the guide are attached as Exhibit N.

134. Section 7.4.1 - Establishing Ballot Handling Options Page 108 of the DS200


   Operators Guide states, "[w]hen you create your election definition, your Electionware

   settings determine for each ballot style how the DS200 handles specific types of ballot

   conditions. For each of these ballot condition, you can set the DS200 to always accept or

   always reject ballots with a specified conditions. For some of those conditions, you can

   instead have the DS200 query the voter to ascertain a voter's intent. You can set the DS200


   to always accept, always reject, or query the voter for the following ballot conditions:

   Undervoted ballot; Blank Ballot; Overvoted Ballot; and Unreadable Marks on Ballot."

135. The DS200 operator's guide then goes to state, "Selecting Always Accept for any

   of these conditions causes the DS200 to skip the voter query function for that condition.

   The DS200 will not display the query screen for those conditions."

136. The DS200 operator's guide then goes through each of the conditions (blank

   ballots, overvoted ballots, undervoted ballots) to show what the queiy looks like on the

   machine if the settings allow for a query.

137. If Always Accept is selected on voting machines, voters are not provided the

   opportunity to change the ballot or correct the error before the ballot is cast and counted.

   This violates 52 USC §21081 (a) (1) (A) (ii) because voters are not notified of their deficient

  ballot and given a chance to cure the error before the machine accepts it.




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138. Section 7.11.3 - Report Options Page 124 of the DS200 Operators Guide details

   the reports and audit logs the machine generates.

139. It states that the Configuration Report, Event Log Report and Summary Event Log,

   and System Log can be generated.


140. Section 9.1 - Reports Overview Page 150 of the DS200 Operators Guide states

   "the DS200 can automatically print the Configuration, Zero Totals, and Ballot Status


   Accounting reports as part of the poll opening process."

141. At the bottom of this section Page 151 of the guide states, "[y]ou can also manually


   request additional copies of any reports that are generated automatically."

142. Section 9.6 - Configuration Report on Pages 158-160 of the DS200 Operators

   Guide contains a sample Configuration Report. The sample configuration report is attached

   as Exhibit 0.

143. The configuration report shows if there is a modem attached on the DS200, whether


   the Event log will be printed on poll close, as well as the settings for accepting blank

   ballots, overvotes, and undervotes.


144. As stated previously, and emphasized by this section's findings, the configuration

   reports that the machines automatically print will confirm whether modems were in use

   and if the blank ballots were the product of machine settings.

145. COMAR 33.10.01.03(B) Auditability. "The tabulators shall provide a vote cast

   record of all ballots cast and audit log of alerts provided to voters and tabulator events and

   errors."



146. COMAR 33.10.01.03(B) proves the machine generates audit logs that would show

   alerts to voters. These alerts would show up for voters if they cast a blank ballot,




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   undervoted, or overvoted. If there are no alerts for these conditions in the audit logs, the

   machines were set to automatically accept these deficient ballots.


147. The audit logs were, again, requested through PIA requests, which were not

   fulfilled despite statutory language stating the machines generate them.

148. COMAR 33.10.01.03(g)-Actions Taken to Change Conditions is relevant to the

   blank ballot and PIA issues.

149. COMAR 33.10.01.03(g)(l)(a),(b) states, "The system shall be capable of printing

   from its audit trail: actions taken by operators to change conditions; and the time of the

   occurrence."


150. COMAR 33.10.01 .03(g)(2) then states, "System operators shall record in a logbook

   all actions to change conditions that cannot be printed from the audit trail. That logbook,

   as well as all reports produced by the printer, shall be retained by the local board.

151. This unequivocally shows that the reports and logbook must be retained by the local

   board under Maryland law.

152. These reports were requested from the Local Boards of Elections, they responded

   stating they had no responsive records.

153. Stating they have no responsive records for reports they are required to retain goes

   to show they either violated Maryland law and Federal law by failing to retain those

   records, or they are unlawfully denying PIA requests for the reports.

                                             Countl

                           Declaratory Judgment - 28 U.S.C. § 2201

154. Plaintiffs incorporates by reference and realleges the averments of paragraphs 1

   through 153.




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155. 28 U.S.C. § 2201 requires a case of actual controversy.


156. There exists an actual controversy ofajusticiable issue between the Maryland State

   Board of Elections (MDSBE) and Maryland Election Integrity, LLC within the jurisdiction

   of this Court concerning the interpretation of The National Voter Registration Act of 1993:


   52 USC §20501(b)(4), Maryland. Code, Elec. Law §§ 3-101, 102, 502, 503 & 504, HAVA:

   52 USC §27057, COMAR 33.09.03.05, Maryland. Code, Elec. Law § 9-103, Md. Code,

   Gen. Provisions § 4-103, The Election Law of the Annotated Code of Maryland § 9-102(d),

   COMAR 33.09.02.07, and COMAR 33.10.01.03.

157. Despite mandatory statutory language requiring current and accurate voter rolls,


   which shall include only the names and registration information of eligible citizen voters,

   and Maryland law specifying processes to do so, Maryland has failed to keep voter rolls

   accurate.


158. Despite mandatory statutory language stating the maximum allowable error rate of

   voting systems, the voting systems in Maryland are still in use in violation of the statutory

   scheme.


159. Despite mandatory statutory language stating the technical data package shall/must

   contain all documentation previously submitted, including the software source code, the

   Board of Elections did not receive and analyze the source code in violation of the statutory

   scheme.


160. Despite mandatory statutory language stating the MDSBE shall decertify machines

   that do not protect the secrecy of the ballot and protect the security of the voting process,

   the Board of Elections did not decertify the machines in violation of the statutory scheme.




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161. Despite mandatory statutory language stating all persons are entitled to have access

   to information about the affairs of government, and in particular, access to an audit trail

   from elections, the MDSBE is denying PIA requests for this information in violation of the


   statutory scheme.


162. Despite mandatory statutory language stating voters shall have the opportunity to

   change their ballot or correct any error before the ballot is cast, Maryland voters have been

   denied this in violation of the statutory scheme.

163. In accordance with 28 U.S.C. § 2201 claims are present between the parties

   involved which indicate imminent and inevitable litigation,




   WHEREFORE, Plaintiffs respectfully requests that this Honorable Court:

   A. Determine and adjudicate the rights and liabilities of the parties with respect to

      Maiyland laws and Federal laws in the context of voting systems and public access to

      voting system logs.


   B. Enter a declaratory judgment order against Defendant declaring it did not properly

      comply with The National Voter Registration Act of 1993: 52 USC § 20501 (b)(4) and

      Md. Election Law Code Ann. §§ 3-101,102,502, 503 and 504 in maintaining accurate


      voter rolls.


   C. Enter a declaratory judgment order against Defendant declaring the voting machines

      and the voting system being used in Maryland Elections exceed the maximum

      allowable error rate as set forth in HAVA: 52 USC § 21081.

  D. Enter a declaratory judgment order against Defendant declaring the certification of the

      ES&S EVS 5.2.0.0 voting system violates COMAR 33.09.03.05.




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   E. Enter a declaratory judgment order against Defendant declaring they failed to decertify

       a voting system that did not protect the secrecy of the ballot and security of the voting

       process, thus violating Maryland. Code, Elec. Law § 9-103.


   F. Enter a declaratory judgment order against Defendant declaring it did not properly

       comply with Md. Code, Gen. Provisions § 4-103, The Election Law of the Annotated

       Code of Maryland § 9-102(d), COMAR 33.09.02.07, and COMAR 33.10.01.03. in


       refusing to produce election-related documents requested through PIA requests.

   G. Enter a declaratory judgment order against Defendant declaring the configuration of

       the voting systems did not comply with 52 USC § 21081 (a)(l)(A)(ii).

   H. Grant such other and further relief as the nature of this cause may require.


                                             COUNT II

                                             Injunction

164. Plaintiffs incorporates by reference and realleges the averments of paragraphs 1

   through 163.

165. There is a balancing test that courts typically employ in determining whether to

   issue an injunction. To seek a permanent injunction, the plaintiff must pass the four-step

   test: (1) that the plaintiff has suffered an irreparable injury; (2) that remedies available at

   law, such as monetary damages, are inadequate to compensate for the injury; (3) that the

   remedy in equity is warranted upon consideration of the balance of hardships between the

   plaintiff and defendant; and (4) that the permanent injunction being sought would not hurt

   public interest. See, e.g., Weinberger v. Romero—Barcelo, 456 U.S. 305,311-313, 102


   S.Ct. 1798, 72 L.Ed.2d 91 (1982); Amoco Production Co. v. Gambell, 480 U.S. 531, 542,

   107 S.Ct. 1396, 94 L.Ed.2d 542 (1987).




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166. Plaintiffs, as Maryland voters and interested citizens with standing, have been

   in-eparably injured by the voting systems currently in use in Maryland and the MDSBE.

   Plaintiffs allege that voter rolls are highly inaccurate, error rates on the voting systems

   exceed the maximum allowable error rates, voting systems were not certified correctly,


   machines have been used that have VOID EAC certifications, large numbers of blank

   ballots were cast, and the MDSBE is unlawfully withholding evidence of such. This has

   caused abridgement to their right to vote "[a]nd the right of suffrage can be denied by a

   debasement or dilution of the weight of a citizen's vote just as effectively as by wholly

   prohibiting the free exercise of the franchise" Reynolds v, Sims, (377 U.S. 533). The right

   to vote is paramount "[e]specially since the right to exercise the franchise in a free and

   unimpaired manner is preservative of other basic civil and political rights, any alleged

   infringement of the right of citizens to vote must be carefully and meticulously


   scrutinized." Reynolds v. Sims, 377 U.S. 533 (1964). Inaccurate voter registration practices

   have led to voting system error rates well above the statutory threshold causing dilution of

   eligible voter's votes. Use of the ES&S Voting Systems in a noncompliant manner has

   resulted in dilution of Plaintiffs votes and has resulted in an impaired election process

   resulting in concrete harm to Plaintiffs rights to vote. Denial of Plaintiffs PIA requests

   resulted in Plaintiffs not being able to access information in which they are entitled.

167. The remedies available at law are wholly inadequate to compensate Plaintiffs for

   the injuries to their right to vote in a free and unimpaired manner and their statutory right

   to access public information.


168. Plaintiffs' harms are to basic rights and the interests are clear whereas Defendant's


   interest in using the ES&S voting system is simply for ease of use, despite the inaccuracies




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   and deficiencies. Defendants have no interest in failing to keep accurate voter rolls.

   Defendants' interest in not fulfilling PIA requests is unknown. Any abridgment to the right

   to vote needs to be meticulously scrutinized and this weighs in favor of Plaintiffs.

169. This injunction is necessary for public interest as it would notify millions of


   Maryland voters their rights are being abridged, and that they will no longer be, thus

   restoring trust in the voting process. Also, it would definitively give Marylander's access

   to certain public information, rather than the illusion of having access.

170. The Defendant failed to follow the statutory scheme requiring them to provide

   accurate and current voter rolls. The Defendant should be mandated to cure and address


   any discrepancies in the voter rolls; ensure votes counted are from qualified citizen voters;

   ensure the number of votes counted is equal to the number of voters who voted; adhere to

   the accuracy requirements for federal elections; and ensure systems, machines, security


   measures, procedures, infrastructure, policy, and conduct are compliant with the law


   regarding certification, testing, operational validation, and operational implementation.

171. The error rates of the voting system in place in the 2020 and 2022 General Election

   greatly exceeded the maximum acceptable error rate. The Defendant should be mandated

   to decertify the machines used in the 2020 and 2022 General Election in Maryland and


   enjoined from using them in subsequent elections.

172. The Defendant failed to follow the statutory scheme put in place by the state of

   Maryland which details the procedure to be followed in certifying voting systems. The

   nonadherence to the statutory scheme creates grounds for the decertification of the voting

   system ES&S EVS 5.2.0.0. Defendant should be mandated to decertify the voting system

   ES&S EVS 5.2.0.0 and enjoined from using it in subsequent elections.




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173. The Defendant failed to follow the statutory scheme requiring them to protect the

   secrecy and security of an election. The Defendant should be mandated to decertify the

   voting system ES&S EVS 5.2.0.3 and enjoined from using it in subsequent elections.

174. The Defendant failed to produce requested documents in response to numerous PIA


   requests. The Defendant should be mandated to produce, including but not limited to, audit

   logs, system logs, error logs, configuration reports, etc. of voting systems.


175. The Defendant failed to allow voters the opportunity to change their ballot or

   correct any error before the ballot is cast. The Defendant should be mandated to configure

   voting machines to notify voters they are casting blank ballots, overvotes, and undervotes


   instead of automatically accepting them.

176. The Defendant has shown willful and gross negligence in assuring the system of

   processes, procedures, human conduct and machines are unable to produce reliable,


   accurate or compliant measurements of voter intent. The Defendant should be mandated to


   fix the entire voting system to ensure legal compliance and required functionality. Further,

   the Defendant should implement a system of comprehensive testing, monitoring and

   auditing by a certified and accredited independent auditor to ensure the repaired system

   functions as required. If the electoral process cannot be proven to be accurate and


   compliant, the election shall not be certified, and a special election shall be held within 30

   days correcting any deficits in conduct.

177. The Defendant has flaunted the Constitutional requirement to only allow known

   citizens eligible to vote, to vote. Registrations, mail-in and in person voting must be

   required to prove identity, eligibility, and citizenship.




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178. Since it is impossible to guarantee that ballots mailed in are not tampered with or

   lost in transit, the Defendant should be ordered to implement a tracking system first from

   the printer to the voter, and then from the voter to the tabulator, so that no ballots are lost

   or tampered with or destroyed. In such cases the voter must be actively notified their ballot

   is lost and given a chance to submit a new ballot.

179. Since a large number of unexplained blank ballots have been registered, and a larger

   number of votes were counted than voters that were counted as having voted, the Defendant


   shall be ordered to implement control mechanisms to insure chain of custody of all ballots


   is maintained, and forgery protection at least equal to financial security standards with

   bonds and currency are maintained on ballots and with ballot handling.

180. As demonstrated by irrefutable statistics, the Defendant has lost control of the

   voting system. The Defendant should be mandated to use comprehensive batch control

   systems, as in the financial industiy with item processing.




   WHEREFORE, Plaintiffs respectfully requests that this Honorable Court:

   A. Issue an injunction mandating Defendant update and keep accurate the voter rolls in

      Maryland as well as address the discrepancies previously shown.

   B. Issue an injunction enjoining Defendant from administering or certifying any election

      wherein the voter registration database is not certified to contain only qualified citizen

      voters, with compliant registration records.


   C. Issue an injunction enjoining Defendant from administering or certifying any election

      where the entire voting system, from the qualified voters' hands to the tabulated

      count, is not provably secure and compliant.




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D. Issue an injunction enjoining Defendant from administering or certifying any election

    wherein all system steps and all components thereof are not fully auditable on a

    transaction/action by action basis.


E. Issue an injunction enjoining Defendant from administering or certifying any election

   wherein the entire system is not monitored effectively to detect real time variances

    from legal conduct.


F. Issue an injunction enjoining Defendant from administering or certifying any election

   wherein the entire system is not open and transparent for auditing by trusted parties

   outside the control of the state election boards and state executives, from qualified

   voters' hands to the certified count.


G. Issue an injunction enjoining Defendant from certifying any election wherein the

   results do not accurately and provably reflect voter intent, individually and

   collectively, in compliance with the law.

H. Issue an injunction enjoining Defendant from using the voting systems used in the

   2020 and 2022 General Elections in future elections in Maryland due to the

   exceptionally high error rates and mandating the decertification of the system or

   systems.


I. Issue an injunction enjoining Defendant from using the ES&S EVS 5.2.0.0 voting

   system in future elections in Maryland and mandating the decertification of the

   system.


J. Issue an injunction enjoining Defendant from using the ES&S EVS 5.2.0.3 voting

   system in future elections in Maryland and mandating the decertification of the

   system.




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K. Issue an injunction mandating Defendant comply with PIA requests for, including but

   not limited to, audit logs, system logs, error logs, configuration reports, etc. of voting


   systems.


L. Issue an injunction mandating Defendant to program voting machines to query voters

   in the case they are attempting to cast a blank ballot, undervote, or ovei-vote instead of


   automatically accepting such ballots.

M. Establish a Special Master to guide the Maryland State Board of Elections to institute


   change prior to the November 2024 election and subject to the approval of this court

   to:


          i. Insure we know who is voting and that each voter is provably a U.S. citizen.


         ii. Insure that the entire system from the Voter's hands to the tabulated count is


             provably secure including ballots from printer to storage.

         iii. Insure that all system steps and all components thereof are fully auditable on

             a transaction/action by action basis.


         iv. Implement a monitoring system able to effectively detect real-time variances

             from legal conduct.


         v. Implement a system that allows end to end insured and certified audits by

             trusted parties outside the control of the State Election bureaucrats and

             executives, from the voters' hands to the certified count, such audits to be


             paid for by the State. Such audits will be done at sufficient scale to prove the

             intent of the voters was determined accurately and in compliance with the

             law.




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            vi. Prevent elections from being certified that are unable to prove they


                accurately determine voter intent; individually and collectively, in


                compliance with the law.


    N. Grant such other and further relief as the nature of this cause may require.




                                                 Respectfully submitted,




                                                 HARTMAN, Attorneys at Law



Date: March 6, 2024 By: /s/ C. Edward Hartman, 111
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                                           AFFIDAVIT

        I have personal knowledge of the facts alleged in this Complaint. Based on my personal

knowledge I verify that the matters stated in this Complaint are true.


        I declare under penalties of perjury that the foregoing is true and correct to the best of my

knowledge, information, and belief.




Dated   :M/o?^^
                                              CI^A ^'br ofMd Bfcfion l^yhf^ LiC




                                                 34
